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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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        TAMMY JOHNSON and VANESSA                           CASE NO. 3:17-cv-06039-RJB
11      DETTWILER,
                                                            ORDER ON (1) PLAINTIFFS’
12                                 Plaintiffs,              MOTION FOR VOLUNTARY
                v.                                          DISMISSAL (2) PLAINTIFFS’
13                                                          MOTION TO SEAL UNREDACTED
        TRACTOR SUPPLY COMPANY,                             DECLARATION OF MICHAEL
14                                                          MALK AND (3) DEFENDANT’S
                                   Defendant.               MOTION TO STRIKE
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            THIS MATTER comes before the Court on Plaintiffs’ Motion for Voluntary Dismissal
18
     (Dkt. 26), and two related motions, Plaintiffs’ Motion to Seal Unredacted Declaration of Michael
19
     Malk (Dkt. 28) and Defendant’s Motion to Strike (Dkt. 37). The Court has considered the
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     motions and the remainder of the file herein.
21
     A. BACKGROUND.
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            Filed on December 12, 2017, this putative class action centers on allegations that
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     Defendant failed to provide adequate meal and rest breaks to non-exempt employees in violation
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     ORDER ON (1) PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL (2) PLAINTIFFS’ MOTION TO
     SEAL UNREDACTED DECLARATION OF MICHAEL MALK AND (3) DEFENDANT’S MOTION TO
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 1   of federal and state wage and hour laws. Dkt. 1 at ¶1.1. See 29 U.S.C. §207, RCW 49.46.130,

 2   RCW 49.52.050, RCW 49.12.020, and WAC 296-126-092. The Complaint alleges one claim for

 3   violations of the Federal Labor Standards Act (FLSA), and federal question jurisdiction under 28

 4   U.S.C. § 1331. Supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) is alleged for three

 5   Washington state law claims.

 6              The Court has granted two stipulated continuances, the second of which stayed formal

     discovery and tolled the statute of limitations to accommodate an October 24, 2018 mediation. Dkt.
 7
     23 at 2.
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                On November 21, 2018, after the mediation failed to resolve the case, Plaintiffs filed the
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     pending motion to dismiss. Dkt. 26. With that motion and pursuant to a stipulated protective order,
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     Dkt. 25, Plaintiffs pro forma filed a motion to seal certain paragraphs of the Declaration of Michael
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     Malk. Dkt. 28. See Dkt. 27. In response to the motion to seal, Defendant filed a motion to strike,
12
     seeking to strike the declaration and references to and information gleaned from the October 24,
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     2018 mediation. Dkt. 36.
14
     B. DISCUSSION.
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                Before reaching the merits of Plaintiffs’ motion to dismiss, the Court must first address the
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     two related motions.
17
                1. Motion to Seal and Motion to Strike.
18
                At the center of both motions is the Declaration of Michael Malk, attorney to Plaintiffs. Dkt.
19
     27. The declaration recounts from Mr. Malk’s perspective what occurred in preparation for and at the
20   October 24, 2018 mediation. See id. at 1-3. Plaintiffs have partially redacted one paragraph of Mr.
21   Malk’s declaration, paragraph five (5), which is redacted as follows (XXX denotes redaction):

22              In preparation for mediation, plaintiffs calculated the potential wage damages for each claim.
                Plaintiffs were surprised to learn that the estimated total wage damages for the approximately
23              XXX Washington class members for the Washington rest and meal break claims exceeded
                the estimated total wage damages for the approximately XXX potential FLSA collection
24
     ORDER ON (1) PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL (2) PLAINTIFFS’ MOTION TO
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 1            action members by nearly XXX. Plaintiffs calculated that each FLSA plaintiff in this action
              would receive on average less than XXX in wage damages. The potential wage damages for
 2            Washington employees . . . also turned out to be trivial.

 3   Dkt. 27 at ¶5.

 4            Defendant seeks to strike Mr. Malk’s declaration in its entirety, including all references to

 5   what Defendant defines as “mediation information.” Dkt. 36 at 1. Defendant requests in the

     alternative that, at a minimum, Plaintiffs’ motion to seal be granted. Id. Defendant argues that
 6
     Plaintiffs’ reliance on information in Mr. Malk’s declaration is improper for three reasons: (1) the
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     information is subject to mediation privileges under state and federal law; (2) the information is
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     inadmissible evidence under ER 408, which disallows evidence of compromise offers and
 9
     negotiations; and (3) the information is confidential under the terms of a mediation agreement. Id. at
10
     4.
11
              According to Plaintiffs, the information cited to is “rudimentary” and “otherwise
12
     discoverable.” Dkt. 39 at 4. Allowing the information to remain sealed, Plaintiffs urge, stretches the
13
     common law mediation privilege and mediation agreement beyond recognition and common sense.
14
     Id. at 2, 3.
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              In this Court’s view, Defendant goes too far seeking to preclude reference to broadly-defined
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     “mediation information.” Nonetheless, redactions to Mr. Malk’s declaration, Dkt. 27, are not
17
     inappropriate under the circumstances. With formal discovery stayed, Plaintiffs explicitly asked for
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     specific information “for purposes of mediation,” such as that used to calculate the number of
19   potential class members and wage damages. Dkt. 37 at 7, 10, 14. Particularly where, as here, the
20   information redacted was gained through mediation and is immaterial to the merits of the pending

21   motion to dismiss, redaction is allowable.

22            Plaintiff’s motion to seal should be granted. The unredacted declaration of Mr. Malk, Dkt.

23   29, should remain under seal. To that extent, Defendant’s motion to strike should be granted.

24   Defendant’s motion to strike should otherwise be denied without prejudice.
     ORDER ON (1) PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL (2) PLAINTIFFS’ MOTION TO
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 1           No finding about these two motions should be construed to limit findings by State courts in

 2   future proceedings.

 3           2. Motion for Voluntary Dismissal.

 4           Plaintiffs seek voluntary dismissal without prejudice under Rule 41(a), which gives

 5   courts discretion to dismiss “on terms that the court considers proper.” Fed. R. Civ. P.

 6   41(a)(1)(B)(2). Having attempted mediation, Plaintiffs represent, Plaintiffs “have decided not to

 7   further pursue their bonus-overtime claims under the FLSA or Washington law,” based on the

 8   prospect of years of costly litigation and the risk that Defendant may prevail on the FLSA claim.

 9   Dkt. 27 at 2, 3. Voluntary dismissal without prejudice “would be a better use of litigation and

10   judicial resources,” Plaintiffs argue. Id.

11           According to Defendant, Plaintiffs’ motion amounts to “a purely elective strategy

12   decision designed to move the litigation . . . to state court[.]” Dkt. 40 at 1. Defendant contends

13   that Plaintiffs are not motivated by judicial economy, but rather are seeking a more favorable

14   forum for strategic reasons, given recent precedent favorable to Plaintiffs in State court and

15   adverse to Plaintiffs in federal court. Id. at 4-7. Defendant seeks $7,850 in attorneys’ fees,

16   acknowledging that although Rule 41(a) “may permit . . . duplicative litigation in state court, it

17   also allows the Court to condition the dismissal on reimbursing Defendant for wasted attorney’s

18   fees incurred by such duplicative litigation.” Id. 1, 2. The fees sought by Defendant relate only to

19   case management and scheduling of this case and responding to Plaintiffs’ motion for voluntary

20   dismissal. Id. at 7-10.

21           Plaintiffs’ request for voluntary dismissal should be granted. It does not appear that

22   Defendant opposes dismissal per se, but rather, opposes the extra costs associated with ending

23   this case and re-filing in State court.

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     ORDER ON (1) PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL (2) PLAINTIFFS’ MOTION TO
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 1          Defendant’s request for attorneys’ fees should be denied. Judging by Defendant’s workup

 2   for the mediation, see Dkt. 37 at 23-36, it would appear that the bulk of attorney work in this

 3   case thus far has had nothing to do with voluntary dismissal. Other than issuing orders on

 4   stipulated motions and the motions addressed by this Order above, the Court has not reached the

 5   merits on any substantive issues and is reluctant to tilt the balance of attorneys’ fees in favor of

 6   one party over another.

 7          THEREFORE, it is HEREBY ORDERED:

 8          (1) Plaintiffs’ Motion for Voluntary Dismissal (Dkt. 26) is GRANTED. The case is

 9              DISMISSED WITHOUT PREJUDICE. Defendant’s request for attorneys’ fees is

10              denied.

11          (2) Plaintiffs’ Motion to Seal Unredacted Declaration of Michael Malk (Dkt. 28) is

12              GRANTED. Docket 29 shall remain sealed.

13          (3) To the extent Defendant’s Motion to Strike (Dkt. 37) requests that Docket 29 remain

14              sealed, the motion is GRANTED IN PART. The motion is OTHERWISE DENIED

15              WITHOUT PREJUDICE.

16          It is so ordered.

17          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

18   to any party appearing pro se at said party’s last known address.

19          Dated this 26th day of December, 2018.

20

21                                          A
                                            ROBERT J. BRYAN
22
                                            United States District Judge
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     ORDER ON (1) PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL (2) PLAINTIFFS’ MOTION TO
     SEAL UNREDACTED DECLARATION OF MICHAEL MALK AND (3) DEFENDANT’S MOTION TO
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